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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

TROVER GROUP, INC.,                                   §
                                                      §
        Plaintiff,                                    §
                                                      §
v.                                                    §
                                                      §      Civil Action No. 2:06-CV-532 (TJW)
VERINT SYSTEMS INC.,                                  §
THE HOME DEPOT, INC.,                                 §      Jury Trial Demanded
HOME DEPOT, U.S.A., INC., and                         §
TARGET CORPORATION                                    §
                                                      §
        Defendants.                                   §

                                                  ORDER

        Defendant Verint Systems Inc. and Plaintiff Trover Group, Inc. have reached settlement

in the above-captioned case, and this case is hereby DISMISSED WITH PREJUDICE subject

to the terms and conditions of the Settlement and License Agreement between the Settling

Parties dated as of July 21, 2008. Each side shall bear its own costs.

        IT IS SO ORDERED.

        SIGNED this 22nd day of July, 2008.




                                                          ___________________________________
                                                          CHARLES EVERINGHAM IV
                                                          UNITED STATES MAGISTRATE JUDGE




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